      Case: 24-60219   Document: 52-2    Page: 1   Date Filed: 09/27/2024




                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                   TEL. 504-310-7700
CLERK                                                        600 S. MAESTRI PLACE,
                                                                     Suite 115
                                                            NEW ORLEANS, LA 70130

                          September 30, 2024


Mr. Jacob Matthew Lewis
Federal Communications Commission
Office of General Counsel
45 L Street, N.E.
Washington, DC 20554

Mr. Rachel Proctor May
Federal Communications Commission
Office of General Counsel - Litigation Division
45 L Street, N.E.
Washington, DC 20554

Mr. William Scher
Federal Communications Commission
Office of General Counsel
45 L Street, N.E.
Washington, DC 20554

      No. 24-60219     National Relig Broadcasters v. FCC
                       Agency No. 24-18
                       Agency No. 24-18


Dear Mr. Lewis, Mr. May, Mr. Scher,
We have determined that your brief is deficient (for the reasons
cited below) and must be corrected within 14 days. We note that
our Quality Control Program advised you of some of these
deficiencies when you filed the document.
The caption on the brief does not match the Court’s Official
Caption as required by Fed. R. App. P. 32(a)(2)(C). See the Official
Caption, below:
                            _________________

                           Case No. 24-60219
      Case: 24-60219   Document: 52-2   Page: 2   Date Filed: 09/27/2024




National Religious Broadcasters; American Family Association,
                       Petitioners
v.
Federal Communications Commission; United States of America,
                       Respondents
consolidated with
 ___________
No. 24-60226
 ___________
Texas Association of Broadcasters,
                       Petitioner
v.
Federal Communications Commission; United States of America,
                       Respondents

Note:   Once you have prepared your sufficient brief, you must
electronically file your ‘Proposed Sufficient Brief’ by selecting
from the Briefs category the event, Proposed Sufficient Brief, via
the electronic filing system. Please do not send paper copies of
the brief until requested to do so by the clerk’s office. The
brief is not sufficient until final review by the clerk’s office.
If the brief is in compliance, paper copies will be requested and
you will receive a notice of docket activity advising you that the
sufficient brief filing has been accepted and no further
corrections are necessary. The certificate of service/proof of
service on your proposed sufficient brief MUST be dated on the
actual date that service is being made. Also, if your brief is
sealed, this event automatically seals/restricts any attached
documents, therefore you may still use this event to submit a
sufficient brief.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk


                                 By: _________________________
                                 Rebecca Andry, Deputy Clerk
                                 504-310-7638
cc:
      Ms. P. Michele Ellison
      Mr. Jared Kelson
Case: 24-60219   Document: 52-2   Page: 3   Date Filed: 09/27/2024



Mr. R. Trent McCotter
Mr. Robert B. Nicholson
Ms. Jessica Thi Nyman
Mr. Robert J. Wiggers
